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EXHIBIT F

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GOOGLE LLC,

Plaintiff and Counter-defendant,
v.
SONOS, INC.,

Defendant and Counter-claimant.

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

Case No. 3:20-cv-06754-WHA
Related to Case No. 3:21-cv-07559- WHA

REBUTTAL EXPERT REPORT OF
DOUGLAS C,. SCHMIDT
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and Lambourne on October 20, 2011 detailing staffing requirements for “Play-to-Sonos”
initiative

e SONOS-SVG2-00026246 — email from Mr. Coburn sent November 2, 2011 to Messrs.
Lambourne, Kuper, Schulert, and Millington and Ms. Hoadley scheduling meeting to
discuss “Play-to-Sonos” initiative

e SONOS-SVG2-00026246 — email from Mr. Coburn sent to Messrs. Lambourne, Kuper,
Schulert, and Millington and Ms. Hoadley on November 7, 2011 summarizing action
plan from meeting regarding the “Play-to-Sonos” initiative

e USS. Patent Appl. No. 13/341,237 — patent application describing the “Play-to-Sonos”
initiative filed on December 30, 2011, which I understand took several weeks (at a
minimum) to prepare!> and, given the holidays, was therefore likely started in November
2011.

IX. OVERVIEW OF THE PRIOR ART

153. In this section, I provide a respective overview of the primary and secondary

references that Dr. Bhattacharjee relies upon.

A. YouTube Remote (YTR) System

1. General Overview of YTR System

154. Dr. Bhattacharjee provides opinions that the Asserted Claims of the ’033 Patent (i.e.,
claims 1-2, 4, 9, 11-13, and 16) and Asserted Claims 14-15, 18-19, and 25 of the ’615 Patent are
anticipated or rendered obvious by a YouTube Remote (“YTR”) System.

155. Asexplained in more detail below, the YouTube Remote (“YTR”) System included:
(1) a YTR software application installed on one or more computer devices, such mobile phones,
that were also referred to as “remotes”; (2) a “Lounge Server,” also referred to as an “MDx Server,”
that operated using an “MDx Protocol”; and (3) one or more “Leanback Screens,” such as TVs,
that were also referred to as “Connected Screens” (or simply “Screens” for short). According to
Dr. Bhattacharjee, “[t]he YTR application could be used for local playback on the mobile device
(‘Local Playback Mode’),” but “[w]hen video playback was transferred from the YTR application
on the mobile device to one or more Screens, the YTR application would serve as a remote control
that could be used to control playback on the Screens (‘Remote Control Mode’).” Bhatta. Op.
Report, 9157.

156. Dr. Bhattacharjee points to three versions — Versions 1-3 — of the YTR application

'S This timeline is consistent with my own patent-filing experience. See also, e.g,
https://milleripl.com/blogs/patents/how-long-does-it-take-to-get-a-patent [SONOS-SVG2-
00226859].

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Leanback Screens to the Lounge Server until Version 3 of the MDx Protocol. See, e.g., Levai Dep.
Tr. (May 4, 2022), 107:3-9, 112:7-114:10; Levai Dep. Tr. (January 6, 2023), 34:4-14. This means
that the first time the MDx Protocol relied on a “remote playback queue” instead of a “local
playback queue” was not until after January of 2014. Id.

160. According to a YouTube press release, a “beta” version of the YTR application for
mobile phones running the Android operating system appears to have been released on November
9, 2010. GOOG-SONOS-WDTX-INV-00015413, 13. As explained in the title of the press release,
the YTR application could be used to “[c]ontrol YouTube on the desktop, or the TV.” Jd. To
enable this functionality, the YTR application “create[d] a virtual connection between your phone
and YouTube Leanback” on a “Google TV or computer.” Jd. The connected TV or desktop device
was referred to as a “Leanback Screen.”

161. Asexplained in the press release: “To ‘pair’ your phone with your Leanback screen,
simply sign into YouTube Remote on your Android phone, and to YouTube Leanback on your
Google TV or computer with the same YouTube account. Just like that, you’ve connected your
powerful multi-touch Android screen with the biggest screen in your home.” Jd. As Dr.
Bhattacharjee has explained, “[a] YTR application and one or more [Leanback] Screens are paired
together by logging into the same YouTube account which registers them with the Lounge Server
and adds them to a lounge ‘session.’” Bhatta. Op. Report, 9178; see also id., {204 citing °998
Patent, 4:21-32 (“For example, pairing can involve having the remote control and control([led]
devices login to the same ‘user account’ and then notifying the server that they are ‘connected to
the network’ to initial a ‘session.’”).

162. I understand that the pairing of the YTR application with a Leanback Screen was
facilitated by an intermediary YouTube cloud server referred to by Google as the “Lounge Server”
or “MDx Server.” See Bhatta. Op. Report, 7158.

163. After a “virtual connection” (or “pairing”) was established, I understand that a user
could then use the YTR application to control playback of videos on the Leanback Screen. GOOG-
SONOS-WDTX-INV-00015413, 13-14. To the extent the YTR application could be paired with

multiple Leanback Screens in a session, it is my understanding that the same media would be played

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on all the Leanback Screens and that the YTR application and/or cloud-based Lounge Server would
be configured to control the playback on all paired Leanback Screens collectively (as opposed to
controlling any one of the multiple Leanback Screens individually or controlling a subset of the
multiple Leanback Screens). See Bhatta. Op. Report, 9158, 178-79, 183; GOOG-SONOS-
WDTX-INV-00015423, 24. I understand that it was possible to add a new Leanback Screen to an
already existing session involving a different Leanback Screen, as long as the Leanback Screens
were logged into the same YouTube account. Levai Dep. Tr. (January 6, 2023), 45:23-46:5.

164. Talso understand that the YTR application could be used on more than one computer
device (e.g., mobile phone) in the same session. Levai Dep. Tr. (May 4, 2022), 105:15-106:19;
Levai Dep. Tr. (January 6, 2023), 39:5-12, 43:14-45:22. In other words, multiple Leanback Screens

could be controlled by multiple YTR remote controls in the same session. Bhatta. Op. Report, 4179

(“A lounge session may have multiple devices associated with it, in particular a single lounge

session may support multiple Leanback Screens (LoungeSession.java23, lines 46, 204). See also

iLoungesession. java, lines 21-23 (‘A lounge session consists of several devices (remote controls

jand players) that communicate through the remote control server.’)”).| I further understand that a

second remote control could be added to an existing session between a first remote control and one
or more Leanback Screens, and that the second remote control, like the first remote control, would
obtain a copy of the entire list of videos for playback. Levai Dep. Tr. (January 6, 2023), 43:14-
45:22.

165. According to Dr. Bhattacharjee, each YTR application/remote control allowed a
user to not only “create queues of videos,” but also to “edit the queue by, for instance, removing
items from the queue or rearranging their order.” Bhatta. Op. Report, 165-66. Since multiple
YTR remote controls could be used in a session, multiple users could create and edit playback
queues on multiple Leanback Screens.

166. Asdiscussed in Video #2 cited by Dr. Bhattacharjee, the connection between a YTR
application and a Leanback Screen could be established when a mobile phone installed with the
YTR application was connected to a local area network (LAN), such as a home Wi-Fi network, or

when it was only connected to a wide area network (WAN), such as a 3G cellular network. See

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4 Lounge / MDx : 2

5 Servers ;

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D 170. It is also important to note that only “videoIDs” are maintained in the playback
B queues on the remote controls and Leanback Screens. Bhatta. Op. Report, {9193-97; GOOG-
14 SONOS WDTX-00040194; = Levai — Dep. Tr. (May 4, 2022), 46:25-54:9;
1s RealPlaystatePushService.java, Ins. 41-350 (57, 137-47) (bigScreenPlaylist); LeanbackModule.as,
16 Ins. 167, 668-77, 682-705, 1015-50; Leanback V2Module.as, Ins. 541-46; Dashboard.as, Ins. 137,
7 143-48; Stations.as, Ins. 15, 20-222. | Each videoID is an “internal identifier to a video” that
18 “represents a video” and is used to access a video on a “Bandaid” server that is different than the
19 Lounge Server. Levai Dep. Tr. (May 4, 2022), 46:25-54:9; see also Levai Dep. Tr. (May 4, 2022),
20 52:1-6 (“I can say that the videoID is kind of like an internal identifier to a video, and it -- it
41 represents a video.”); Levai Decl., 43 (“Videos were played back on the television by retrieving
> them from Bandaid content servers in Google’s Content Delivery Network.”). The Bandaid server
74 does not maintain any YTR playlists or queues.
a4 171. Inthe YTR System, a remote control is used to create a playback queue that is stored
95 locally on the remote control. See Bhatta.Op. Report, 4165 (“The YTR application allowed users
6 to create queues of videos.”). As shown below in images from Video #5 (GOOG-SONOSNDCA-
7 00071317) on the left and Video #6 (GOOG-SONOSNDCA-00071318) on the right, the “Queue”
08 on the remote control starts out “empty”:

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back videos from its playback queue stored locally on the remote/mobile device. Levai Dep. Tr.
(January 6, 2023), 38:13-39:4, 40:15-41:9. The YTR System’s standalone mode is discussed in
more detail below in connection with Dr. Bhattacharjee’s reliance on Video #1 (GOOG-SONOS-
WDTX-INV-00015101).

174. To initiate the YTR System’s remote-control mode, a remote sends a copy of its
entire local playback queue (i.e., its locally-stored “list of media selected for playback”) in a
SET PLAYLIST message (also referred to as a “setPlaylist” message) to the Lounge Server.
GOOG-SONOSWDTX-00040194; Levai Dep. Tr. (January 6, 2023), 39:13-43:12;

RemotePlayerController.java, Ins. 92-102.| The Lounge Server then sends the SET PLAYLIST

message to any and all of the connected Leanback Screens in the session, as well as to all other

remotes (if any) connected to the session. GOOG-SONOSWDTX-00040194 at 195; Levai Dep.

Tr. (January 6, 2023), 41:22-45:22; RealLoungeSessionManager.java, Ins. 307-86, 851-83, 1030-

2,

175. After receiving the SET_PLAYLIST message from the Lounge Server, each

Leanback Screen saves a copy of the entire playlist into its local playback queue. Levai Dep. Tr.

(January 6, 2023), 41:10-15, 51:15-24, 58:16-19; |LeanbackModule.as, Ins. 167, 668-77, 682-705,

1015-50; | Leanback V2Module.as, Ins. 541-46. Each Leanback Screen uses its local playback

queue, which now contains the entire playlist, to playback the media items sent from the remote

control. Levai Dep. Tr. (January 6, 2023), 52:5-14 59:15-60:12; |LeanbackModule.as, Ins. 167,

2144-82; LeanbackV2Module.as, Ins. 541-46; VideoApplication.as, Ins. 859-63.

176. Since the SET PLAYLIST message has no way of indicating which video in the
playlist should be played, the remote control will send a SET_VIDEO message (also referred to as

a “setVideo” message) to the Lounge Server to indicate which video should be played on the

Leanback Screen(s). GOOG-SONOSWDTX-00040194; RealPlaystatePushService.java, Ins. 31,

33-39, 116-35, 282-85, 264-80; RemotePlayerController.java, Ins. 77-89, 92-102.) The Lounge

Server, in turn, sends the SET_VIDEO message to each Leanback Screen in the session. GOOG-

SONOS WDTX-00040194; [Real oungeSessionManager. java, Ins. 307-86, 851-83, 1030-42.| To

change the currently playing video, the remote will need to send a new SET_VIDEO message to

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the Lounge Server, which will, in turn, send the new SET_VIDEO message to each Leanback

Screen in the session. RealVideoPlayService.java, Ins. 80-124, 249-67, 269-73;

RealPlaystatePushService.java, Ins. 116-35, 282-85; RemotePlayerController.java, Ins. 77-89.

177. As previously discussed, the connected remotes in the session have the ability to
modify or edit the playlist with updates. To do so, a remote will send an update message to the
Lounge Server, which will, in turn, send the updates for the playlist to the remotes in the session
and the Leanback Screens in the session via an UPDATE_ PLAYLIST message (also referred to as
a “updatePlaylist” message). GOOG-SONOSWDTX-00040194 at 194-195; Levai Dep. Tr.

(January 6, 2023), 51:6-21; \RealPlaystatePushService.java, Ins. 86-114, 305-53, 345-49;

RemotePlayerController.java, Ins., 112-19; RealLoungeSessionManager.java, Ins. 307-86, 851-83.

Once the updates have been processed by the Leanback Screens, the locally-stored playback queue
on each Leanback Screen will maintain the full updated playlist and each Leanback Screen will

continue to playback the media items from their locally-stored playback queue. Levai Dep. Tr.

(January 6, 2023), 52:5-14 59:15-60:12;|/LeanbackModule.as, Ins. 682-705, 2144-82.

178. Accordingly, in the YTR System’s remote-control mode, the playback queue locally
stored on the Leanback Screen: (i) comprises the list of media items that is used for playback by
the Leanback Screen; (ii) contains the entire list of media items selected for playback; (iii) is not
being used merely to process a list of media items maintained elsewhere for playback; and (iv) is
the queue that “runs the show.”

179. In other words, if there is only one playback queue in the YTR System, it is the local
playback queue on the Leanback Screens. Dr. Bhattacharjee does not dispute this conclusion. See
Bhatta. Op. Report, 4185.

3. Dr. Bhattacharjee’s Mischaracterizations of the YTR System

180. In his Opening Report, Dr. Bhattacharjee attempts to explain various aspects of the
YTR System. However, as explained below, I disagree with many of Dr. Bhattacharjee’s
characterizations.

181. For instance, as Dr. Bhattacharjee acknowledges in his Opening Report, the YTR

application served as a “remote control” for a larger screen. See Bhatta. Op. Report, 9157; see also,

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a. Dr. Bhattacharjee’s Lack of Evidence Regarding Party Mode
Ever Working

198. Other than source code, Dr. Bhattacharjee cites to no documents explaining how or
if YTR party mode ever worked.!” He also does not cite to any videos demonstrating how YTR
party mode worked, or if it even worked at all. I am not aware of the existence of any such
documents or videos. In fact, unlike the media coverage and user reviews that were posted on the
Internet for the normal operation of YTR, I was unable to find any such coverage or reviews on
YTR party mode. Given the lack of available information on YTR party mode, it is questionable
whether YTR party mode was ever released for commercial use or whether it ever worked at all.
At best, it appears that the YTR party mode was an unused feature that was merely present in the
source code.

199. Inmy opinion, YTR party mode was merely an expansion of YTR’s normal (or non-
party) operating mode that was built on top of YTR’s existing source code and functionality at the
time. For instance, as explained above, YTR’s non-party mode allowed multiple remote controls
and multiple Leanback Screens to communicate with each other through a single Lounge Server.
Similarly, YTR’s party mode apparently did the same thing — it allowed multiple remote controls
and multiple Leanback Screens to communicate with each other through a single Lounge Server.
The only difference was that non-party mode involved remote controls and Leanback Screens
logged into the same YouTube Account, while party mode purportedly permitted remote controls
and Leanback Screens logged into different YouTube Accounts.

200. As set forth below, the relevant messages for setting up a playback queue in party
mode are nearly identical to the messages used for non-party mode, except that the messages in
party mode inform the Lounge Server that it needs to relay the playlist and updates to not just the
remote controls and Leanback Screens associated with the host’s YouTube account, but also to the
remote controls and Leanback Screens associated with any guests’ YouTube accounts in the same

session. See, e.g., Levai Dep. Tr. (January 6, 2023), 53:19-54:18 (describing the “set playlist”

'7 Dr, Bhattacharjee points to a document entitled “YouTube Remote Script.” Bhatta. Op. Report,
4279. But that document does not show how or if YTR party mode ever worked. Rather, the script
contains only a single sentence arguably related to party mode, which merely states that “Now I
can invite my friends to join my screen, and we can collaboratively edit the Shared Queue.” Jd.

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messaging between the Lounge Server and Leanback Screen in party mode as “mostly the same
path as, yes, in non-Party Mode,” and confirming that, “based on the code,” in party mode “the
MDx server was mimicking the same messages that should be sent from the [] remote app when
[in] non-Party Mode”), 56:25-58:19 (confirming with an unqualified “yes” that “[i]n either Party
Mode or non-Party Mode, there is a set playlist message sent from the MDx Server down to the
Leanback screens” and that “[i]n both Party Mode and non-Party Mode, the Leanback screens
always get the entire list of videos for playback’’). In other words, there is no substantive difference
between party mode and non-party mode except that, in party mode, the Lounge Server has to
coordinate with the guests’ devices in addition to the host’s devices.

201. I also disagree with Dr. Bhattacharjee’s opinion that YTR party mode relied on a
remote playback queue or a “cloud queue” for playback. See Bhatta. Op. Report, 4186. To the
contrary, it is my opinion that YTR party mode used a local playback queue on the Leanback
Screens just like the normal, non-party mode of YTR.

202. Indeed, the copy of the playlist stored on the Lounge Server in party mode was not
used for playback. Rather, the Lounge Server used that copy of the playlist to merely “coordinate,”
ie., “make sure that every device had the same order of videos,” with the Leanback Screens and
the remote controls that were connected in the session. Levai Dep. Tr. (January 6, 2023), 56:2-

16.18

b. Messages for Setting Up a Playback Queue on the Leanback
Screens in Party Mode

203. Asin non-party mode, it is important to note that there is no direct communication
between the remote controls (e.g., mobile devices) and the Leanback Screens (e.g., TVs) in the
YTR System’s party mode. Bhatta. Op. Report, 9158. All communication between the remote
controls and the Leanback Screens must be facilitated through and by the Lounge Server in both
party and non-party modes. Jd.

204. Itis also important to note that in party mode only “videoIDs” are maintained in the

18 Likewise, Dr. Bhattacharjee’s reference to comments in|RemoteQueueManager java|(Bhatta.

Op. Report, [9 177, 300) is unconvincing because (i) that is a file for the YTR Application source)
|code (1.e., a YT'R remote control), (ii) as I explained in my Opening Report whether something is

“remote” of something else is context dependent, and (iii) here, the comment iis referring to the |
act that the “remote queue” that the application is managing is on the Screen(s).

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playlist on the Lounge Server and the playback queues on the remote controls and Leanback

Screens. Bhatta. Op. Report, §§]193-97; GOOG-SONOSWDTX-00040194; Levai Dep. Tr. (May

4, 2022), 46:25-54:9; |RealLoungSessionManager.java, Ins. 63-1264 (197), 676-763, 679-88;

RealPlaystatePushService.java, Ins. 41-350 (57, 137-47) (bigScreenPlaylist); LeanbackModule.as,

Ins. 167, 668-77, 682-705, 1015-50; Leanback V2Module.as, Ins. 541-46; Dashboard.as, Ins. 137,

143-48; Stations.as, Ins. 15, 20-222.| Each videoIDs is an “internal identifier to a video” that

“represents a video,” and is used to access a video on a “Bandaid” server that is different than the
Lounge Server. Levai Dep. Tr. (May 4, 2022), 46:25-54:9; see also Levai Dep. Tr. (May 4, 2022),
52:1-6 (“I can say that the videoID is kind of like an internal identifier to a video, and it -- it
represents a video.”); Levai Decl., 43 (“Videos were played back on the television by retrieving
them from Bandaid content servers in Google’s Content Delivery Network.”). The Bandaid server
does not maintain any YTR playlists or queues.

205. The process for creating and populating the local playback queue on a remote
control in party mode is the same as previously described with respect to non-party mode.

206. According to Dr. Bhattacharjee, “the party mode feature allowed the mobile device
to play back a party queue stored in the cloud in standalone mode and ‘remote’ control mode as
well.” Bhatta. Op. Report, 4181. However, Dr. Bhattacharjee fails to explain or show how exactly
the mobile devices operate in the YTR System’s standalone party mode. Nevertheless, I have seen
no evidence that the remote controls/mobile devices in the party are doing anything but playing
back the list of media items stored in their local playback queues — just like multiple remote controls
would do in standalone non-party mode. Thus, I disagree with Dr. Bhattacharjee’s assertion that
any mobile device in standalone party mode is playing back a queue that is “stored in the cloud.”

207. To initiate the YTR System’s remote-control party mode, a host remote control
sends a copy of its entire local playback queue (i.e., its locally-stored “list of media selected for
playback”) in a SET_PARTY_PLAYLIST message to the Lounge Server. Bhatta. Op. Report,
9189 (If the YTR application is in party mode, this function constructs a
SET_PARTY PLAYLIST message (id., 365) that includes the party queue (id., lines 377-381),

which is sent to the Lounge server.”); Levai Dep. Tr. (January 6, 2023), 52:15-

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53:15;RealPartyModeManager.java, Ins. 190-212; RealLoungSessionManager.java, Ins. 307-86,

776-799, 1111-19, 1088-109, 1218-27.| The host remote control may also change the value for the

playlist contain in its local playback queue from “QUEUE” to “PARTY QUEUE.”

RealPartyModeManager java, Ins. 190-212, 269-78. | Otherwise, there is no substantive difference

between a playlist tagged as “QUEUE” versus “PARTY QUEUE.”

208. The Lounge Server saves a copy of the SET PARTY PLAYLIST message. Levai
Dep. Tr. (January 6, 2023), 52:15-53:15. The Lounge Server then sends a SET PLAYLIST
message with the playlist from the SET PARTY PLAYLIST message to any and all of the
connected Leanback Screens of the host and guests in the session, and sends a
PARTY_PLAYLIST_MODIFIED message to all other remote controls of the host and guests
connected to the session. Bhatta. Op. Report, 4189 (“This sendPartyQueueToScreen function sends
a SET _PLAYLIST [message] from the Lounge server to the connected Screens. The
SET_PLAYLIST message sent from the Lounge server to the Screens contains the cloud hosted
party queue.”); Levai Dep. Tr. (January 6, 2023), 52:15-54:18, 57:13-58:6;

RealLoungeSessionManager.java, Ins. 676-763, 1111-19, 1218-27. | The Lounge Server uses its

saved copy of the playlist from the SET_PARTY PLAYLIST message to relay to any new
Leanback Screens and/or remote controls that join the existing party mode session a copy of the

playlist. Levai Dep. Tr. (January 6, 2023) at 52:15-53:15, 56:6-16;

RealLoungeSessionManager.java, Ins., 237-69, 1065-72, 1074-86, 1088-109.

209. The SET PLAYLIST message that each Leanback Screen receives from the Lounge
Server in party mode is the same as the SET PLAYLIST message that each Leanback Screen
receives from the Lounge Server in non-party mode. Bhatta. Op. Report, 4193 (“As I discussed
above, transferring playback from a mobile device to a Screen causes the Lounge server to send a
SET_PLAYLIST message and/or SET_VIDEO message from the Lounge server to the Screens to
transfer playback. In particular, when not in party mode a SET_PLAYLIST message is sent from
the Lounge Server to the Screens to send the queue and start playback of the queue. In party mode,
the Lounge Server sends a SET_PLAYLIST message to the Screens to send the party queue and a
further SET_VIDEO message is used to then start playback of the queue.”);

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RealLoungeSessionManager.java, Ins., 307-86, 851-83, 1030-42, 1088-109. | After receiving this

SET PLAYLIST message from the Lounge Server, each Leanback Screen in the party mode

sessions saves a copy of the entire playlist into its local playback queue. Levai Dep. Tr. (January

6, 2023), 54:19-55:10, 58:16-9; |LeanbackModule.as, Ins. 167, 668-77, 682-705, 1015-50;

Leanback V2Module.as, Ins. 541-46. |Just as in a non-party mode session, each Leanback Screen in

a party mode session uses its own local playback queue, which now contains the entire party
playlist, to playback the media items sent from the remote control(s). Bhatta. Op. Report, 4189
(“The Screens receive the SET PLAYLIST message and perform additional processing and
messaging to play the videos in [their] queue .. . .”); id., 9193-197; Levai Dep. Tr. January 6,

2023), 54:19-55:10, 58:16-9;) LeanbackModule.as, Ins. 167, 2144-82; Leanback V2Module.as, Ins.

541-46; VideoApplication.as, Ins. 859-63.

210. Mr. Levai’s deposition testimony confirms that a Leanback Screen in party mode

uses its own copy of the party playlist stored in its local queue for playback without any dependency

on the copy of the playlist on the Lounge Server:

Q Well, all the devices such as the Leanback screens and the YouTube remotes, they
also store and maintain a copy of that playlist; correct?

A Well, they need to so that they can show it in [GUI] to the user.

Q And so they can play it back; right?

A Well, in remote mode, yes, the lounge screen plays back those videos.

Q Plays back those videos stored locally on the screen; right?

A Well, it gets a list of videos and which one to play and starts playing that video.
And then in order to know which video to play next when the current one ends, it
refers to that list.

Q The locally stored list on the Leanback screens; correct?

A Yes. I don’t believe it asked the MDx server for which video to play next when
the current ended. I believe it referred to that list that it caught before.

Levai Dep. Tr. (January 6, 2023), 59:15-60:12.

211. As long as the session is active, and absent any modifications or edits to the party

playlist on a remote control, each Leanback Screen in a party mode session will continue to

playback the media items in its locally-stored playback queue in the order set by that queue and

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until that queue is empty. Levai Dep. Tr. January 6, 2023), 55:19-25; [LeanbackModule.as, Ins.

167, 1435-50, 1308-64; VideoApplication.as, Ins. 852-57.

212. Just like in non-party mode, the SET PARTY PLAYLIST and SET PLAYLIST
messages in party mode have no way of indicating which video in the playlist should be played,
and thus, a remote control will need to send a SET_VIDEO message to the Lounge Server to
indicate which video should be played on the Leanback Screen(s). Bhatta. Op. Report, 4191 (“For
instance, if a user presses the Connect/Reconnect button while in party mode, the YTR application

will transfer playback to the Screens by sending a SET_VIDEO message to the Lounge server.”);

Levai Dep. Tr. (January 6, 2023), 54:11-1 8; |RemotePlayerController.java, Ins. 77-89.) The Lounge

Server, in turn, sends the SET_VIDEO message to each Leanback Screen in the party mode session.

Bhatta. Op. Report, 7191 (“The SET_VIDEO message is then relayed by the Lounge server to the

Screens to transfer playback.”); RealLoungeSessionManager.java, Ins. 307-86, 851-83, 1030-42.)

To change the currently playing video, the remote control will need to send a new SET_VIDEO

message to the Lounge Server, which will, in turn, send the new SET_VIDEO message to each

Leanback Screen in the party mode session. |RemotePlayerController.java, Ins. 77-89;

RealLoungeSessionManager.java, Ins. 307-86, 851-83, 1030-42.

213. As previously discussed with respect to a non-party mode session, the connected
remote controls in a party mode session have the ability to modify or edit the playlist with updates.
To do so, a remote control will send update messages to the Lounge Server, which will, in turn,
send the updates for the playlist to the remote controls in the session via a
PARTY PLAYLIST MODIFIED message and to the Leanback Screens in the session via an
UPDATE PLAYLIST message. Levai Dep. Tr. (January 6, 2023), 55:11-18;

SharedPlaylistContentService.java, Ins. 30-122; RemoteQueueManager.java, Ins. 16, 20-82;

RealLoungeSessionManager.java, Ins. 676-763, 689-760, 1121-24, 1218-27, 1229-38.| Notably,

the PARTY_PLAYLIST_MODIFIED message, as well as the UPDATE_PLAYLIST message,

“contains the entire shared party queue.” Bhatta. Op. Report, 175;

RealLoungeSessionManager.java, Ins. 1218-27, 1229-38.

214. The UPDATE PLAYLIST message that each Leanback Screen receives from the

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Lounge Server in party mode is the same as the UPDATE PLAYLIST message that each Leanback

Screen receives from the Lounge Server in non-party mode. |RemotePlayerController.java Ins. 112-

19; RealLoungeSessionManager.java, Ins. 1229-38.| Once the updates have been processed by the

Leanback Screens, the locally-stored playback queue on each Leanback Screen in the party mode
session will maintain the full updated playlist and each Leanback Screen in the party mode session

will continue to playback the media items from their locally-stored playback queue. Levai Dep.

Tr. January 6, 2023), 54:19-55:10, 58:16-9, 59:15-60:12; [LeanbackModule.as, Ins. 167, 682-705,

1435-50, 1308-64; VideoApplications.as, Ins. 852-57.

215. Accordingly, in the YTR System’s remote-control party mode, the playback queue
locally stored on the Leanback Screen: (i) comprises the list of media items that is used for playback
by the Leanback Screen; (ii) contains the entire list of media items selected for playback; (iii) is not
being used merely to process a list of media items maintained elsewhere for playback; and (iv) is
the queue that “runs the show.”

216. In other words, as with non-party mode, if there is only one playback queue in the

YTR System’s party mode, it is the local playback queue on the Leanback Screens.
B. US. Patent No. 9,490,998
217. Dr. Bhattacharjee relies on U.S. Patent No. 9,490,998 (the “’998 Patent”) to support

his YTR obviousness theories, namely, that it would have been obvious to add a “device-picker”
to the YTR System. I disagree with Dr. Bhattacharjee that the °998 Patent discloses a device-picker
as explained in my Rebuttal Report for the Court’s Patent Showdown Procedure, which is
incorporated herein by reference. I also disagree with Dr. Bhattacharjee that it would have been
obvious to combine the YTR System with the ’998 Patent to render the Asserted Claims of the 033
Patent obvious. In fact, the YTR System’s party mode is completely incompatible and inoperable
with a device-picker.

218. The ’998 Patent is entitled “Network-Based Remote Control” and issued from an
application filed on March 7, 2011, which claims priority to November 8, 2010. The ’998 Patent
lists Google as the assignee. One of the named inventors of the ’998 Patent is Ms. Bobohalma,

who stated, in her declaration, that “[t]his patent discloses some of the work that I did on the

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